                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            CASE NO. 3:20-CR-385-RJC-DCK

 UNITED STATES OF AMERICA,                             )
                                                       )
                  Plaintiff,                           )
                                                       )
     v.                                                )       ORDER
                                                       )
 KENNETH JEROME WATKINS,                               )
                                                       )
                  Defendant.                           )
                                                       )

          THIS MATTER IS BEFORE THE COURT on the Government’s “Motion To Unseal

The Indictment” (Document No. 164) filed October 26, 2021. This motion has been referred to

the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion and the record, the undersigned will grant

the motion.

          By the instant motion, the Government requests that the Bill of Indictment be unsealed

because there no longer exists any danger to the attendant investigation in this case.

          IT IS, THEREFORE, ORDERED that the Government’s “Motion To Unseal The

Indictment” (Document No. 164) is GRANTED.



                                         Signed: October 26, 2021




      Case 3:20-cr-00385-RJC-DCK Document 165 Filed 10/26/21 Page 1 of 1
